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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                     CASE NO: 6:11-cr-415-Orl-22GJK

RAUL GONZALEZ


                                   ORDER AND NOTICE
                                OF SHOW CAUSE HEARING

       This cause comes before the Court on a Report and Recommendation (Doc. No. 124),

entered by the Magistrate Judge after conducting a Final Probation Revocation Hearing pursuant

to Local Rule 6.01(c)(16) on March 3, 2014.

       After an independent de novo review of the record in this matter, and noting that no

objections were filed, the Court agrees entirely with the findings of fact and conclusions of law

in the Report and Recommendation.

       Therefore, it is ORDERED as follows:

       1.      The Report and Recommendation entered March 4, 2014 (Doc. No. 124), is

ADOPTED and CONFIRMED and made a part of this Order.

       2.      Defendant shall personally appear before this court on THURSDAY, April 10,

2014, at 11:30 A.M., at the George C. Young U.S. Courthouse & Federal Building, 401 W.

Central Boulevard, Sixth Floor, Courtroom 6A, Orlando, Florida, 32801, and shall show cause

why supervised release should not be revoked.
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       DONE and ORDERED in Chambers, Orlando, Florida on March 19, 2014.




Copies furnished to:

Counsel of Record
United States Magistrate Judge
United States Marshals Service
United States Probation Office
Courtroom Deputy
Raul Gonzalez




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